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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA

¥.

CASE NO.: 1:21-CR-00254

FRANK J, SCAVO,

Defendant.

 

DECLARATION OF ERNEST D. PREATE JR. IN
SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

I, Ernest D. Preate, pursuant to 28 U.S.C. § 1746, declare, under penalty of perjury, as

follows:

1,

My name, office address, and telephone number are as follows:

Ernest D. Preate, Jr, Esquire. - (PA Bar No. 08433)
The Law Office of Ernest D. Preate, Jr.

204 Wyoming Avenue, 2™ Floor, Suite C
Scranton, Pennsylvania 18503

Telephone: (507) 558-5970

Facsimile: (570) 558-5973

Email: epreate@comceast.net

I have been admitted to the following courts and bars:

Pennsylvania Supreme Court (Nov. 18, 1969) (PA Bar No. 08433)

United States District Court ~ Middle District Court of Pennsylvania

United States District Court — Eastern District Court of Pennsylvania

United States District Court — Western District Court of Pennsylvania

United States Third Circuit Court of Appeals

e Most Significant Case Argued:

Montanez and Hale, Prisoners v. Secretary, Pennsylvania Department of
Corrections, et_al. 773 F.3d 472 (Gd Cir. 2014), (challenge to the
constitutionality of Act 84 deductions by Department for Court costs and
restitution from prisoner accounts; insufficient due process) Court
Appointed by Middle District Court of Pennsylvania; opinion written by
Judge Roth, Circuit Judge, for unanimous panel of three; labeled
“Precedential,” reversing opinion of District Cowt and declaring

 
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Department of Corrections procedures insufficient against procedural due
process standards.
United States Supreme Court

A. Argued for the Commonwealth of Pennsylvania:
Blystone v. Pennsylvania, 494 US 299 (1990)
(constitutionality of Pennsylvania Death Penalty Law upheld against a
mandatoriness challenge), 5-4 opinion by Rehquist, CJ.

B. Argued for the Commonwealth of Pennsylvania:
Planned Parenthood v. Casey, 505 US 833, 112 S. Ct. 2791 (1992)
(precedential decision upholding most of Pennsylvania Abortion Control

Act)
3; I am currently in good standing with all states, courts, and bars in which I am
admitted to practice.
4, I have not been admitted pro hac vice in U.S. District Court for the District of
Columbia.
5. I do not have an office located within the District of Columbia and am not a member

of the District of Columbia Bar or have a pending application to become a member of the District

of Columbia Bar.
6. I will, if admitted, will represent Defendant, Frank Scavo, to the best of my ability.
7s I will, if admitted for purposes of litigation, conduct myself in accordance with all

applicable rules of professional conduct and the rules of this Court.

I declare under penalty of perjury that the foregoing is true and correct. Executed on this

Buk DM WD fee

Ernest D. Preate, Jr.

16" day of April, 2021.

 
